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                               Exhibit 90



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

In re: PHARMACEUTICAL INDUSTRY                       )
AVERAGE WHOLESALE PRICE                              )   MDLNo. 1456
LITIGATION                                           )   Civil Action No. 01 -12257-PBS
                                                     )
                                                     )   Subcategory No. 06-11337-PBS
                                                     )
THIS DOCUMENT RELATES TO:                            )   Hon. Patti B. Saris
                                                     )
United States ofAmerica ex reI. Ven-a-Care of        )
the Florida Keys, Inc. v. Abbott Laboratories,       )
Inc. , Civil Action No. 06-11337-PBS;                )
                                                     )
United States ofAmerica ex ref. Ven -a-Care of       )
the Florida Keys, Inc. v. Dey, Inc., et af., Civil   )
Action No. 05-11084-PBS; and                         )
                                                     )
United States ofAmerica ex reI. Ven -a-Care of       )
the Florida Keys, Inc. v. Boehringer Ingelheim       )
Corp., et aI., Civil Action No. 07-10248-PBS         )

                        DECLARATION OF MARK DUGGAN, PH.D.

       I, Mark G. Duggan, hereby declare as follows:

       1.      I have been retained as an expert by the United States and relator Ven-A-Care of

the Florida Keys, Inc. I am preparing this affidavit to respond to the Declaration of David

Bradford, Ph.D., dated August 28, 2009, and as a supplement to my prior declarations. I have

not set forth herein an exhaustive rebuttal of each point raised by Dr. Bradford. Rather, I have

limited my response to the key points reasonably made in the time available.

       2.      In paragraphs 4 through 7 and Figures 1 and 2 of his August 28, 2009 declaration,

Dr. Bradford isolates data from one NDC/quarter, draws conclusions based on it, and

extrapolates those conclusions to all 26 NDCs and 65 quarters. Even with this one NDC/quarter,

Dr. Bradford's conclusions are not sound.

       3.      Dr. Bradford's Figure 1 purports to show that the "average paid amounts across
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states vary significantly." He does this as a method of contradicting statements I have made to

the effect that the average amounts paid for each NDC were very similar. However, Dr. Bradford

calculated and compared the average amount paid per claim, not the average amount paid per

unit. He then failed to account for differences in the number of units on the typical claim in each

state. Since the number of units per claim varies significantly from state to state for this

NDC/quarter (e.g., 219 in NY vs 109 in PA), an examination of average paid amount per claim

will suggest a false inconsistency.

       4.      It is more appropriate to look at the average paid amount per unit, which reveals

greater consistency across states using the same reimbursement bases. States reimbursing based

on AWPs are fairly consistent with each other as shown in Exhibit 1. States reimbursing based

on WACs (Massachusetts and Missouri) are consistent with each other. Michigan is in between

and appears to have reimbursed based on a state MAC for this NDC in this quarter.

       5.      Dr. Bradford then uses his Figure 2 to attempt to contradict my statement that the

ratio of the damages to total Medicaid spending across the various states - despite the different

adjudication methodologies - is stable. Here, Dr. Bradford purports to show that the average

overcharge from one state to another is quite different. However, his analysis is again

misleading.

       6.      One reason that Dr. Bradford's use of his Figure 2 is misleading is that he quoted

my prior statement out of context. I did not say that the ratio of damages is similar in every

case. When Dr. Bradford quoted from a portion of my prior statement, he failed to include the

part where I specifically state that the ratio of damages is "in general" similar across states. Plus,

my prior statement was made in the context of my description of the analysis that I performed in

connection with all three defendants, Dey, Roxane and Abbott. Dr. Bradford has only examined

the claims related to a single defendant, Dey. Thus, his comparison is incomplete.

       7.      In addition, a closer look at Dr. Bradford's Figure 2 demonstrates that it does
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more to confirm than dispute my assertion that reimbursement amounts and overcharges are

consistent across states with similar reimbursement methodologies. It can be seen from Dr.

Bradford 's Figure 2 that the two WAC states, Massachusetts and Missouri, have similar damage

ratios (as would be expected.) The next lowest state in his chart, Michigan, appears to have used

MACs during this quarter, thereby reducing the damages somewhat but not as much as the use of

WACs. The remaining states all primarily relied upon AWPs l and demonstrate similar average

overcharges in the range of approximately 60 to 70%.

       8.      Dr. Bradford then uses his Figure 3 to attempt to show that the extrapolation

methodology I employed using the SMRF/MAX/MSIS/SDUD data is invalid for the purposes of

this litigation because his claim-level analysis results in substantially lower damages. However,

this is not an apples-to-apples comparison for at least two reasons. First, Dr. Bradford begins

with a lower Medicaid utilization amount than I would have in either an extrapolation or a claims

level analysis. Second, Dr. Bradford did not properly replicate my methodology when he

calculated damages using state claims-level data.

       9.      With respect to the Medicaid utilization amount, when I conducted my claims-

level analyses, I compared all sources of data to each other, preferring state claims-level data to

SMRF/MAX to MSIS to SDUD and opted for the less preferred source only when the preferred

source appeared to be incomplete (i.e., half or less than indicated by other sources). Dr. Bradford

used different, unknown criteria to prefer state claims-level data over other sources.

       10.     Using a set of state claims data files produced by Dr. Bradford and filling in

missing quarters with SMRF/MAX/MSIS/SDUD data to get a more accurate utilization figure, I

calculate a total of $80.31 million in total Medicaid spending - much closer to my $78.9 million

figure than the $73.1 million figure in the column labeled "Total Medicaid paid amount using


        1 Note that while Florida used both AWP and WAC in reimbursing claims during most
ofthe relevant period, during the quarter in Dr. Bradford's chart Florida did not consider WAC in
its reimbursement methodology due to a computer programming glitch.
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claims data ($mm)" in Dr. Bradford's Figure 3. I cannot determine exactly how Dr. Bradford

handled the data because of limitations in the supporting data produced by Dr. Bradford.

However, two unambiguous instances of such differences include 3 quarters (1998 04-1999 Q2)

in Kansas where state claims data is missing more than $500,000 in comparison to

SMRF/MAX/MSIS/SDUD data, and 4 quarters (2007 01-2007 04) in Alaska that Dr. Bradford

ignores entirely and that amounts to more than $47,000 in SMRF/MAX/MSIS/SDUD data.

       11.     Once Dr. Bradford assembled his smaller starting point of $73.1 million in paid

claims, he then proceeded to eliminate additional claims from consideration in his damage

calculations using an algorithm designed to test the data in connection with the reimbursement

methodology of each state. If the claim failed his test, it was culled from the sample. Dr.

Bradford has not identified how many additional claims were culled from the sample and the

data he has made available to the United States is insufficient to replicate his work. Although I

also culled claims from the data collected directed from the states for this case, I am unable to

determine whether or not Dr. Bradford culled a comparable amount. In any event, he did not

actually calculate his version of damages from the $73.1 million in claims that he identifies in his

chart, but calculated damages from some lesser, unknown figure.

       12.     I understand the defendants to argue that their inflated prices do not have any

causal impact on Medicaid reimbursement for claims where the original basis of payment was a

FUL, MAC, or U&C. This is contradicted by the "lower of" payment methodology documented

in the Myers and Stauffer state methodology summaries, which make clear that, in general, if an

AWP-based or WAC-based amount is lower than a FUL, MAC, or U&C, the AWP-based or

WAC-based amount will be used as the basis for payment. (A few states, most notably New

York, have not followed this approach all the time .) State claims-level data confirms this

conclusion. The attached Exhibit 2 shows the billing data maintained by Florida in connection

with seven claims processed in 2001 for Abbott's NDC 00074-7101-02. In each of the seven
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examples, the data suggests that the same Florida MAC (called the "general upper limit price" or

GULP by Florida) is in place. 2 Also, for each example, it can be seen from the data that Florida

calculated the payment using the AWP-based EAC and the charge-based U&C. In each example,

the actual reimbursement was set at the lowest of the MAC, EAC or U&C. Thus, when the EAC

resulted in an allowed amount less than the MAC, the actual reimbursement was based on the

EAC, not on the MAC.

       13.     That particular situation - where the EAC was lower than the MAC - occurred in

these examples when Abbott caused its AWP to drop on this 250ml bag of saline from $16.95 to

just $3.31 (effective April 6, 2001) by reducing its catalog price from $14.27 to $2.86. The data

shows that, when the EAC was lower than the GULP, Florida paid the claim using the EAC

amount, not the GULP amount. The alternative AWPs used in my calculation of damages for

Abbott on this drug ranged from $2.33 to $2.40 during 2001. Had First DataBank published an

AWP of, say $2.40, Florida would have paid $2.08 per 250m] bag (or .008328 per ml), which is

lower than the GULP amount. Florida's reliance upon and use of the AbbottAWP of$3.31 to set

reimbursement, which resulted from Abbott's voluntary 2001 catalog price drop, also

demonstrates that the states would have used AWPs comparable to the alternative AWPs that I

calculated.

       14.     I understand that an issue has been raised concerning claims for compounded

drugs in the state of Georgia. In my damages analysis, I did not calculate damages for

compounded drugs. A compound drug claim in Georgia lists the NDC as "00000000888,"

populates the "drug name" field with the actual NDC, and sets the value of the "drug compound"


        2 The data does not directly identify the GULP which only appears on claims that are
actually paid based on it. I was able to determine the GULP by using the allowed charge source
variable and then reverse engineering. For claims paid at U&C or EAC, I am assuming the
GULP was the same as I see in contemporaneous or nearly contemporaneous claims. I checked
this assumption by examining claims for other .9% sodium chloride NDCs and found that their
GULPs (based again on claims paid based on their GULP) did not change throughout the same
time period.
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field to "Y." When I filtered the Georgia claims data to select claims for analysis, I selected only

claims with NDC field values matching those in the complaints and did not use the "drug name"

field. Therefore, no claims for compounded drugs were included in the determination of

damages. I followed a similar approach using the state claims-level data of other states. My

exclusion of compounded drugs was conservative and would tend to understate damages.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct to the best of my knowledge.

       Executed this    a\~ r        day of September, 2009.




                                                 Mafk\Duggan, Ph.D.1 ~
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                               Exhibit 1: Average Paid Amount Per Unit (49502068503 in 2001 Q3)

          0.700000




          0.600000




          0.500000




          0.400000
Dollars




          0.300000




          0.200000




          0.100000




          0.000000
                     NJ   VA      NY     FL    KY     LA    PA     CA     NC    GA     IL     MI   MA   MO   average
                                                                  State
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                           Exhibit 2: Florida FMMIS Claims Showing Lesser-of Methodology (NDC: 00074710102, SODIUM CHLORIDE 0.9% SOLN)

             Field Name                     Claim 1           Claim 2             Claim 3             Claim 4           Claim 5           Claim 6             Claim 7
STECK_ID                                     1440155343        1606426620          1628780941          1612486231        1477664803        1550624060          1471202113
CLM-INPUT-MEDIUM-IND                                    6                 6                   6                   6                 6                 6                   6
BATCH-DATE                                          1058              1162                1298                1298              1345              1310                1354
MICROFILM-MACHINE-NO                                    9                 9                   9                   9                 9                 9                   9
MICROFILM-ROLL-NO                                       9                 9                   9                   9                 9                 9                   9
BATCH-NUMBER                                           73              111                   62                  57                21                55                  73
DOCUMENT-NUMBER                                      752               261                   98                137               674               775                 342
LINE-NUMBER                                             1                 1                   1                   1                 1                 1                   1
TOTAL-CLAIM-CHARGE                      $          76.80 $          743.83 $             46.49 $             29.10 $            8.56 $           19.36 $              7.54
CLM-RECIP-PMT-AMT                       $            -    $            -    $              -    $              -    $            -    $            -    $              -
THIRD-PARTY-PMT-AMT                     $            -    $            -    $              -    $              -    $            -    $            -    $              -
AMT-PAID-BY-MCARE                       $            -    $            -    $              -    $              -    $            -    $            -    $              -
NET-CLAIM-CHARGE                        $          76.80 $          743.83 $             46.49 $             29.10 $            8.56 $           19.36 $              7.54
REIMBURSEMENT-AMOUNT                    $          20.97 $          196.74 $             46.49 $             29.10 $            7.60 $           13.35 $              7.54
SPENDDOWN-AMOUNT                        $            -    $            -    $              -    $              -    $            -    $            -    $              -
PRESC-PROV-LICENS-NO                          ME0066680         ME0012314          ME0029538           ME0031413         ME0039740         ME0045500           ME0055974
DRUG-QUANTITY                                       1000             11500                3000                1750               250               750                 250
DRUG-DISPENSING-FEE                     $           4.23 $            4.23 $              4.23 $              4.23 $            4.73 $            4.73 $              4.73
ALLOWED-CHARGE                          $          20.97 $          196.74 $             54.45 $             33.52 $            7.60 $           13.35 $              7.60
ALLOWED-CHRG-SOURCE                            G                 G                   B                   B                 E                 E                   B
STECK_FIRST-DATE-OF-SVC                         20010107          20010107            20010108            20010118          20011206          20011106            20011219
STECK_NDC                                   00074710102       00074710102         00074710102         00074710102       00074710102       00074710102         00074710102
GULP Unit Price in Effect                        0.01674           0.01674             0.01674             0.01674           0.01674           0.01674             0.01674
  Allowed Amount if at GULP             $          20.97 $          196.74 $             54.45 $             33.52 $            8.91 $           17.28 $              8.91
  Reimbursement if at GULP              $          20.97 $          196.74 $             54.45 $             33.52 $            8.91 $           17.28 $              8.91
AWP Unit Price in Effect                         0.06778           0.06778             0.06778             0.06778           0.01325           0.01325             0.01325
  AWP-13.25%                                     0.05880           0.05880             0.05880             0.05880           0.01149           0.01149             0.01149
  Allowed Amount if at AWP-13.25%       $          63.02 $          680.42 $            180.62 $            107.12 $            7.60 $           13.35 $              7.60
  Reimbursement if at AWP-13.25%        $          63.02 $          680.42 $            180.62 $            107.12 $            7.60 $           13.35 $              7.60
  Reimbursement if at Billed Amount     $          76.80 $          743.83 $             46.49 $             29.10 $            8.56 $           19.36 $              7.54
Est_Source                                   GULP              GULP           Billed Amount       Billed Amount       AWP-13.25%        AWP-13.25%        Billed Amount
Reimbursed                              $          20.97 $          196.74 $             46.49 $             29.10 $            7.60 $           13.35 $              7.54

Florida Version of MAC (GULP)           $         20.97   $        196.74   $           54.45   $          33.52   $           8.91   $          17.28   $            8.91
FL EAC (based on AWP-13.25%)            $         63.02   $        680.42   $          180.62   $         107.12   $           7.60   $          13.35   $            7.60
U&C (billed Amount)                     $         76.80   $        743.83   $           46.49   $          29.10   $           8.56   $          19.36   $            7.54
Reimbursed by Florida Medicaid          $         20.97   $        196.74   $           46.49   $          29.10   $           7.60   $          13.35   $            7.54
